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                   Case: 1:17-cr-00103-RLW Doc. #: 63 Filed: 07/09/20 Page: 2 of 9 PageID #: 191
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              Case: 1:17-cr-00103-RLW Doc. #: 63 Filed: 07/09/20 Page: 4 of 9 PageID #: 193
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                                        4-9-2020 Towr; 1·tall//Follow-up

   At this time Commissary has stopped at the Low due to the wide spread of COVID19. Each
   housing unit was given two cases of soap whkh equals 2 bars per inmate on Tuesday. Also Trusf
   Fur:id has provided a hygiene kit (soap, toothpaste, razor, etc) for each inmate weekly. The
· Charging Stations in H:..A will not be repla"ced atthis time. DHO/UDC phone restrictions will
   remain in effect. Inmates on restriction will not be allowed to use the phone until the restriction
 . has ended. Green form BP199s will be processed. Sheet exchange will be Friday, Saturday and
   Sunday: Staff will iss1.1~·thrne. ma~s per in mater -HelenaJJ.ppJ}.11/counseloJ,.1;:'!:rave ihe.eh ,instrui::ted•
   to pass out paper BP-199s and complete mail runs for Helena Upper and· Helena Lower inmates.


 Requirements for Home Confinement under Attorney General Barr's Memo dated 26 MAR 2020:
 -Minimum·Risk score
 -no incident reports in the last 12 months
 -no history of violence
 -no gang activity in prison
 -not a sex offender
 -is a U.S. citizen
 -established home plan

 Requirements for Reduction In Sentence/Comp~ssiooate
         '                                       /'
                                                            .Release .IAWJ?S,5050.!30:
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 Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion of
 the Director of the BOP, to reduce a term of imprisonment for extraordinary or compelling.·
. reasons. BOP Program Statement No. 5050.50, Compassionate Release/Reduction in Sentence:
 Procedures for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and4205(g), provides guidance on
the types of circumstances that present extraordinary or compelling reasons, such as the
 inmate's terminal medical condition; debilitated medical condition; status as a "new law" elderly
 inma.te, an elderly inmate with medical conditions, or an "other elderly inmate"; the death or
 incapacitation pf the family member caregiver of the inmate's child; or the incapacitation of the
 inmate's spouse or registered partner. Possible .exposure to COVID-19 dnes not meet-the
 .           .   .                               . -     '

 requirement to be approved for RIS/Compassionate Release.




A. Parks, Heleria Acting UM
4-10-2020
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